                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                     NO. 3:16CR42

 UNITED STATES OF AMERICA,                        )
                                                  )
                 Plaintiff,                       )
                                                  )                  ORDER
    v.                                            )
                                                  )
 QUANTRAVIS LAVAR RICHARDSON,                     )
                                                  )
                 Defendant.                       )
                                                  )

         UPON DEFENDANT’S MOTION FOR REVIEW OF THE MAGISTRATE JUDGE’S

DETENTION ORDER (Doc. No. 80), the Court, after de novo review of the record in this case

(including the official courtroom recording), affirms the Magistrate Judge’s finding that there is

no condition or combination of conditions which will assure the Defendant’s appearance and

protect the community from the Defendant.

         While this is a close case as to detention, the Defendant is subject to a rebuttable

presumption of detention pursuant 18 U.S.C. § 3142(e). The Defendant may overcome the

presumption by presenting sufficient evidence of the factors in 18 U.S.C. § 3142(g) (i.e., nature

and circumstances of the offense; the weight of the evidence against defendant; the history and

characteristics of the defendant; and the nature and seriousness of the danger to the community

that would be posed by the defendant’s release) showing that he is neither a risk of flight nor risk

to the community. In the case at bar, Defendant failed to overcome the presumption.

         Although the Court did a de novo review of the record and gave no deference to the

Magistrate Judge’s reasoning and ruling, the Court fully adopts the Magistrate Judge’s reasoning




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and explanation for denying bond. The Magistrate Judge carefully considered all the evidence and

properly applied the law.

       Thus Defendant’s Appeal of Magistrate Judge Decision (Doc. No. 80) is DENIED;

       The Magistrate Judge’s ruling is AFFIRMED; and,

       There is no need for another detention hearing.

       IT IS SO ORDERED.
                                             Signed: March 25, 2016




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